        Case 2:06-cr-06063-LRS       ECF No. 8   filed 12/14/06   PageID.16 Page 1 of 1



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                         UNITED STATES DISTRICT COURT
 5                      EASTERN DISTRICT OF WASHINGTON
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 7
     UNITED STATES OF AMERICA,              )
 8                                          )
                        Plaintiff,          )
 9                                          )       NO: CR-06-6063-LRS-1
                 v.                         )
10                                          )       ORDER GRANTING MOTION
     TYLER M. MORRIS,                       )       AND QUASHING WARRANT
11                                          )
                        Defendant.          )
12                                          )
13
14         Upon Motion of the Plaintiff, United States of America,
15         IT IS ORDERED that Plaintiff’s Motion (Ct. Rec. 7) is GRANTED. The
16   warrant for the arrest for the Defendant, Tyler M. Morris, is hereby quashed.
17         DATED December 14, 2006.
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19                               S/ CYNTHIA IMBROGNO
20                      UNITED STATES MAGISTRATE JUDGE
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